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11 and People Media, Inc.

12

13                            UNITED STATES DISTRICT COURT

14                         NORTHERN DISTRICT OF CALIFORNIA

15 IN RE GOOGLE PLAY STORE ANTITRUST              Case No. 3:21-md-02981-JD
   LITLIGATION
16                                                MATCH PLAINTIFFS’ INTERIM
   THIS DOCUMENT RELATES TO:                      ADMINISTRATIVE MOTION TO FILE
17                                                UNDER SEAL REPLY IN SUPPORT OF
   Match Group, LLC, et al., v. Google LLC, et    MOTION FOR PARTIAL SUMMARY
18 al., Case No. 3:22-cv-02746-JD                 JUDGMENT

19                                                Judge: Hon. James Donato

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                               Case Nos. 3:22-cv-02746-JD; 3:21-md-02981-JD
         MATCH PLAINTIFFS’ INTERIM ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
     6430790
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 1             Pursuant to Civil Local Rules 7-11 and 79-5 and the Court’s April 24, 2023 Order granting

 2 the parties’ stipulation modifying sealing procedures, Case No. 3:21-md-02981-JD, Dkt. 501,

 3 Plaintiffs Match Group, LLC; Humor Rainbow, Inc.; PlentyofFish Media ULC; and People Media,

 4 Inc. (collectively, the “Match Plaintiffs”) submit this interim administrative motion to file under

 5 seal the unredacted version of the Match Plaintiffs’ Reply in Support of Their Motion for Partial

 6 Summary Judgment on Google’s Counterclaims, Dkt. 527. As set forth in the stipulation approved

 7 by the Court, Dkt. 501, the reasons for sealing will be discussed in a forthcoming omnibus sealing

 8 motion filed jointly by the parties on July 13, 2023. The Match Plaintiffs anticipate additional

 9 review of the materials to ensure that any requests are narrowly tailored. Redacted copies of the

10 documents sought to be sealed have been publicly filed in the docket.

11

12    Dated: June 8, 2023                         HUESTON HENNIGAN LLP
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17
                                                  Respectfully submitted,
18

19                                                 By: /s/ Douglas J. Dixon
                                                       Douglas J. Dixon
20
                                                       Attorneys for Plaintiffs Match Group, LLC;
21                                                     Humor Rainbow, Inc.; PlentyofFish Media
                                                       ULC; and People Media, Inc.
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